 ON SUPERVISORY WRITS TO THE SIXTH JUDICIAL DISTRICT COURT, PARISH OF TENSAS PER CURIAM: | denied. Relator fails to show any factual issues of significance are sharply contested and therefore fails to show the district court abused its discretion when it resolved her claims without an evidentiary hearing. La.C.Cr.P. art. 928; La.C.Cr.P. art. 929(A); State ex rel. Tassin v. Whitley, 602 So.2d 721, 722-23 (La. 1992). Relator has now fully litigated her application for post-conviction relief in state court. Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-conviction procedure envisions the filing of a second or successive application only under the narrow circumstances provided in La.C.Cr.P. art. 930.4 and within the limitations period as set out in La.C.Cr.P. art. 930.8. Notably, the legislature in 2013 La. Acts 251 amended that article to make the procedural bars against successive filings mandatory. Relator’s claims have now been fully litigated in accord with La. C.Cr.P. art. 930.6, and this denial is final. Hereafter, unless she can show that one of the narrow exceptions authorizing the filing of' a ■ successive application applies, Lrelator has exhausted her right to state collateral review. The district court is ordered to record a minute entry consistent with this per curiam. 